
30 So. 3d 638 (2010)
Joshua Leon BUTLER, Appellant,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Appellee.
No. 1D09-4121.
District Court of Appeal of Florida, First District.
March 17, 2010.
Joshua Leon Butler, pro se, Appellant.
Bill McCollum, Attorney General, and Joy A. Stubbs, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Joshua Leon Butler appeals an order of the circuit court dismissing his mandamus claim. In the circuit court, Butler sought and was granted leave to amend his petition. The circuit court's subsequent dismissal order reflects its belief that Butler failed to file an amended petition within the time allotted, but it appears that the circuit court's conclusion in this regard was a product of oversight or mistake. In fact, the record discloses that Butler did timely file an amended petition. Accordingly, the order dismissing his claim below is reversed, and the matter is remanded for further proceedings.
BENTON, VAN NORTWICK, and CLARK, JJ., concur.
